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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------------X
   Free Holdings, Inc.                                                  :
                                                                        :
                                                                        :
                                              Plaintiff(s),             :     __ Civ. _____
                                                                            1:22      00881 (LGS)
                            -v-                                         :
                                                                        :      CIVIL CASE
  Kevin McCoy, Sotheby's, Inc., and Nameless Corp.                      :   MANAGEMENT PLAN
                                              Defendant(s).             :    AND SCHEDULING
                                                                        :         ORDER
 ---------------------------------------------------------------------- X

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(f)(3).

1.      All parties [consent ______
                                X / do not consent ______] to conducting all further
        proceedings before a United States Magistrate Judge, including motions and trial. See
        28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
        consequences. [If all parties consent, the remaining paragraphs need not be completed.]

2.      The parties [have ______ / have not ______] conferred pursuant to Fed. R. Civ. P. 26(f).

3.      This case is governed by one of the following sets of rules, and the parties’ proposed
        dates in this order have been adjusted accordingly.

        a.       An employment case governed by the Initial Discovery Protocols for Employment
                 cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                 [Yes ______ / No ______]

        b.       A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                 Against the City of New York? https://nysd.uscourts.gov/rules.
                 [Yes ______ / No ______]

        c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                 https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-g-
                 schofield
                 [Yes ______ / No ______]

        d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
                 Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                 [Yes ______/ No________]



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4.   Alternative Dispute Resolution/Settlement

     a.     Settlement discussions [have ______ / have not ______] taken place.

     b.     Counsel for the parties have discussed an informal exchange of information in aid
            of early settlement and have agreed to exchange the following:
            __________________________________________________________________
            __________________________________________________________________
            __________________________________________________________________

     c.     Counsel for the parties have discussed the use of the following alternate dispute
            resolution mechanisms for use in this case: (i) a settlement conference before a
            Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
            retention of a private mediator. Counsel for the parties propose the following
            alternate dispute resolution mechanism for this case:
            __________________________________________________________________
            __________________________________________________________________
            __________________________________________________________________

     d.     Counsel for the parties recommend that the alternate dispute resolution
            mechanism designated in paragraph 4(c) be employed at the following point in the
            case (e.g., within the next 60 days; after the deposition of plaintiff is completed
            (specify date); after the close of fact discovery):
            __________________________________________________________________
            __________________________________________________________________
            __________________________________________________________________

     e.     The use of any alternative dispute resolution mechanism does not stay or
            modify any date in this Order.

5.   No additional parties may be joined after __________ without leave of Court.

6.   Amended pleadings may be filed without leave of Court until ______________.

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
     __________ days from the date of this Order. [Within 14 days of the parties’ Rule 26(f)
     conference, absent exceptional circumstances.]

8.   Fact Discovery

     a.     All fact discovery shall be completed no later than ______________________.
            [A period not to exceed 120 days, unless the Court finds that the case presents
            unique complexities or other exceptional circumstances.]

     b.     Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
            be served by ______________________.


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      c.     Responsive documents shall be produced by _________________.
             Do the parties anticipate e-discovery? [Yes ______ / No ______]

      d.     Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
             ______________________.

      e.     Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
             ______________________.

      f.     Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
             ______________________.

      g.     Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
             written consent of all parties without application to the Court, provided that
             all fact discovery is completed by the date set forth in paragraph 8(a).

9.    Expert Discovery [if applicable]

      a.     Anticipated types of experts if any:
             _________________________________________________________________
             _________________________________________________________________
             _________________________________________________________________

      b.     If you have identified types of experts in question 9(a), all expert discovery shall
             be completed no later than ______________________.
             [Within 45 days from the date in paragraph 8(a), i.e., the completion of all fact
             discovery, absent exceptional circumstances.] Omit if you have not identified
             types of experts.

      c.     If you have identified types of experts in question 9(a), by _________ [no later
             than one month before the date in paragraph 8(a), i.e., the completion of all fact
             discovery] the parties shall meet and confer on a schedule for expert disclosures,
             including reports, production of underlying documents and depositions, provided
             that (i) expert report(s) of the party with the burden of proof shall be due before
             those of the opposing party’s expert(s); and (ii) all expert discovery shall be
             completed by the date set forth in paragraph 9(b).

10.   This case [is ______ / is not ______] to be tried to a jury.

11.   Counsel for the parties have conferred and their present best estimate of the length of trial
      is ______________________.




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12.    Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
       Fed. R. Civ. P. 26(f)(3), are set forth below:
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________

13.    Status Letters and Conferences

       a.     By ___________ [60 days after the commencement of fact discovery], the parties
              shall submit a joint status letter, as outlined in Individual Rule IV.A.2.

       b.     By ______________ [14 days after the close of fact discovery], the parties shall
              submit a joint status letter, as outlined in Individual Rule IV.A.2 and, in the event
              that they have not already been referred for settlement discussions, shall also
              advise the Court whether or not they request a referral for settlement discussions
              as provided in Paragraph 4(c) above.

       c.     On _______________ at ______A.M. [usually 14 days after the close of all
              discovery], a pre-motion conference will be held for any anticipated dispositive
              motions, provided:

                   i. A party wishing to file a summary judgment or other dispositive motion
                      shall file a pre-motion letter at least two weeks before the conference and
                      in the form provided in the Court’s Individual Rule III.A.1. Any party
                      wishing to oppose shall file a responsive letter as provided in the same
                      Individual Rule. The motion will be discussed at the conference. To join
                      the conference, the parties shall call (888) 363-4749 and use Access Code
                      558-3333. The time of the conference is approximate, but the parties shall
                      be ready to proceed at that time.

                  ii. If no pre-motion letter is timely filed, this conference will be canceled
                      and the matter placed on the Court’s trial-ready calendar. The parties
                      will be notified of the assigned trial-ready date and the filing deadlines for
                      pretrial submissions. The parties are warned that any settlement
                      discussions will not stay pretrial deadlines or the trial date.

        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(f)) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(f), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.



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        Notwithstanding any other rules governing discovery or other deadlines, the parties shall
follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

        The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar.



       SO ORDERED.


Dated: _________________
       New York, New York
                                                      ____________________________________
                                                             LORNA G. SCHOFIELD
                                                            United States District Judge

Counsel for the Parties:
  /s/ Moish E. Peltz
  Counsel for Plaintiff Free Holdings,                    /s/ William L. Charron
_________________________________
  Inc.                                                _________________________________
                                                         Counsel for Defendant Kevin McCoy


                                                         /s/ Evan Rothstein
                                                         Counsel for Sotheby's, Inc.
_________________________________                     _________________________________
                                                         /s/ Nadav Aschner
_________________________________                     _________________________________
                                                         Counsel for Nameless




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